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B1040 (FORM 1040) (12/15)


                                                                                                         ADVERSARY PROCEEDING NUMBER
               ADVERSARY PROCEEDING COVER SHEET                                                          (Court Use Only)
                      (Instructions on Reverse)


 PLAINTIFFS                                                                         DEFENDANTS
 RICHARD M KIPPERMAN,                                                               DONGYU USI, INC., a California
 Chapter 7 Trustee                                                                  corporation, dba United Samples,
                                                                                    and UNITED SAMPLES, INC.,
                                                                                    a California corporation, dba Dongyu USI,

 ATTORNEYS (Firm Name, Address, and Telephone No.)                                  ATTORNEYS (If Known)
 Timothy J. Truxaw, Esq. / Gary E. Slater, Esq.
 Slater & Truxaw, LLP
 15373 Innovation Dr., Suite 210
 San Diego, CA 92128
 Tel: (858) 675-0755 Fax: (858) 675-0733
 PARTY (Check One Box Only)                                  PARTY (Check One Box Only)
 □ Debtor              □    U.S. Trustee/Bankruptcy Admin    □ Debtor                □    U.S. Trustee/Bankruptcy Admin
 □ Creditor            □    Other                            x□ Creditor             □    Other
 X Trustee
 □                                                            □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 COMPLAINT FOR AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS AND FOR DISALLOWANCE OF
 CREDITOR CLAIMS [11 U.S.C. §§ 502, 547 AND 550]
                                                      NATURE OF SUIT
               (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
      FRBP 7001(1) – Recovery of Money/Property                                           FRBP 7001(6) – Dischargeability (continued)



 ~                                                                                   ~
      11 - Recovery of money/property - § 542 turnover of property                        61 - Dischargeability - § 523(a)(5), domestic support
  X   12 - Recovery of money/property - § 547 preference                                  68 - Dischargeability - § 523(a)(6), willful and malicious injury
      13 - Recovery of money/property - § 548 fraudulent transfer                         63 - Dischargeability - § 523(a)(8), student loan
  X   14 - Recovery of money/property - other                                             64 - Dischargeability - § 523(a)(15), divorce or separation obligation
                                                                                               (other than domestic support)
      FRBP 7001(2) – Validity, Priority or Extent of Lien
                                                                                     □    65 - Dischargeability - other
 □    21 - Validity, priority or extent of lien or other interest in property
                                                                                          FRBP 7001(7) – Injunctive Relief
      FRBP 7001(3) – Approval of Sale of Property                                         71 - Injunctive relief - reinstatement of stay
 □    31 - Approval of sale of property of estate and of co-owner - § 363(h)         E3   72 - Injunctive relief - other

      FRBP 7001(4) – Objection/Revocation of Discharge                                    FRBP 7001(8) Subordination of Claim or Interest
 □    41 - Objection / revocation of discharge - § 727(c),(d),(e)
                                                                                     □    81 - Subordination of claim or interest

      FRBP 7001(5) – Revocation of Confirmation                                           FRBP 7001(9) Declaratory Judgment
 □    51 - Revocation of confirmation
                                                                                     □    91 - Declaratory judgment

      FRBP 7001(6) – Dischargeability                                                     FRBP 7001(10) Determination of Removed Action

 E3   66 - Dischargeability - § 523(a)(1),(14),(14A) priority tax claims
      62 - Dischargeability - § 523(a)(2), false pretenses, false
                                                                                     □    01 - Determination of removed claim or cause

           representation, actual fraud                                                   Other
 □    67 - Dischargeability - § 523(a)(4), fraud as fiduciary, embezzlement,
           larceny                                                                   E3
                                                                                          SS-SIPA Case – 15 U.S.C. §§ 78aaa et.seq.
                                                                                          02 - Other (e.g. other actions that would have been brought in state
                          (continued next column)                                              court if unrelated to bankruptcy case)


 □    Check if this case involves a substantive issue of state law                   □    Check if this is asserted to be a class action under FRCP 23
      Check if a jury trial is demanded in complaint                                 Demand: N/A - see complaint
 □
 Other Relief Sought:

                                           BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                                                                                        BANKRUPTCY CASE NO.
 CORE SUPPLEMENT TECHNOLOGY, INC.                                                                      17-06078-MM7




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  DISTRICT IN WHICH CASE IS PENDING                 DIVISIONAL OFFICE                NAME OF JUDGE
  Southern District of California                                                    Hon. Margaret M. Mann



                                               RELATED ADVERSARY PROCEEDING flF ANYl
  PLAINTIFF                                         DEFENDANT                                     ADVERSARY PROCEEDING NO.



  DISTRICT IN WHICH ADVERSARY IS PENDING            DIVISIONAL OFFICE                NAME OF JUDGE



  SIGNATURE OF ATTORNEY (OR PLAINTIFF)

 Isl Timothy J. Truxaw


  DATE                              PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  October 1, 2019                   Timothy J. Truxaw




                                                          INSTRUCTIONS

    The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of the
property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction of the
court so broad, there may be lawsuits over the property or property rights of the estate. There also may be law suits concerning the
debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.

    A party filing an adversary proceeding must also complete and file Form 1040, the Adversary Proceeding Cover Sheet, unless
the party files the adversary proceeding electronically through the court's Case Managemen-VElectronic Case Filing system
(CM/ ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When completed, the cover sheet
summarizes basic information on the adversary proceeding. The clerk of court needs the information to process the adversary
proceeding and prepare required statistical reports on court activity.

   The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other
papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-explanatory,
must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an attorney). A separate cover
sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff is
represented by a law firm, a member of the firm must sign. If the plaintiff is prose, that is, not represented by an attorney, the
plaintiff must sign.




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 1   Gary E. Slater (State Bar No. 99141)
     Timothy J. Truxaw (State Bar No. 106428)
 2   SLATER & TRUXAW, LLP
     15373 Innovation Drive, Suite 210
 3   San Diego, CA 92128
     Tel: (858) 675-0755 / Fax: (858) 675-0733
 4
 5   Attorneys for Plaintiff, Richard M Kipperman, Chapter 7 Trustee
 6
 7
 8                               UNITED STATES BANKRUPTCY COURT
 9                               SOUTHERN DISTRICT OF CALIFORNIA
10   In re                                           )         Case No.: 17-06078-MM7
                                                     )
11   CORE SUPPLEMENT                                 )         Adv. Proceeding No.: __________________
     TECHNOLOGY, INC.,                               )
12                                                   )         Chapter 7
                                                     )
13                  Debtor.                          )         COMPLAINT FOR
                                                     )         AVOIDANCE AND RECOVERY
14                                                   )         OF PREFERENTIAL TRANSFERS,
                                                     )         AND FOR DISALLOWANCE OF
15   RICHARD M KIPPERMAN,                            )         CREDITOR CLAIMS
     Chapter 7 Trustee,                              )
16                                                   )         [11 U.S.C. §§ 502, 547 and 550]
                    Plaintiff,                       )
17   v.                                              )
                                                     )         Date:    None Set
18   DONGYU USI, INC., a California                  )         Time:    None Set
     corporation, dba United Samples,                )         Dept:    One (Rm. 218)
19   and UNITED SAMPLES, INC.,                       )         Judge:   Hon. Margaret M. Mann
     a California corporation, dba Dongyu USI,       )
20                                                   )
                                                     )
21                  Defendants.                      )
                                                     )
22                                                   )
23           Richard M Kipperman, chapter 7 trustee (“Plaintiff”) of the bankruptcy estate of CORE
24   SUPPLEMENT TECHNOLOGY, INC. (“Debtor”), alleges as follows:
25                                                PARTIES
26           1.     On October 3, 2017 (the “Petition Date”), Debtor commenced the above-captioned
27   bankruptcy case (the “Case”) by the filing of its voluntary petition for relief under chapter 11 of the
28   Title 11, United States Code (the “Bankruptcy Code”). On April 2, 2018, the above-captioned court


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 1   (“Court”) entered its order converting the Case to a case under chapter 7 of the Code. Plaintiff was
 2   thereupon appointed and, at all times thereafter has been serving as chapter 7 trustee of Debtor’s
 3   bankruptcy estate (the “Estate”).
 4           2.       Plaintiff is informed and believes, and thereon alleges that, at all times herein
 5   mentioned, DONGYU USI, INC., a California corporation, also known and doing business as United
 6   Samples, and UNITED SAMPLES, INC., a California corporation, doing business as Dongyu USI
 7   (jointly and severally hereinafter called “Defendants”). Plaintiff is informed and believes that, at
 8   all times herein mentioned, Defendants each were and are a corporation organized and existing
 9   under the laws of the State of California, having their principal place of business located in Tustin,
10   California.
11                                             JURISDICTION
12           3.       Plaintiff commences this adversary proceeding pursuant to Rule 7001 of the Federal
13   Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking relief pursuant to, inter alia, §§
14   547, 550 and 502(d) of the Bankruptcy Code to avoid and recover preferential transfers made by the
15   Debtor to or for the benefit of Defendants, and to cause the disallowance of any proof(s) of claim
16   filed by or for the benefit of Defendants, and each of them, against the Estate.
17           4.       The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§
18   157 and 1334, and General Order 312-D of the United States District Court for the Southern District
19   of California.
20           5.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (B),
21   (C) and (F) in that, inter alia, this is a proceeding to determine, avoid or recover preferential
22   transfers under Bankruptcy Code §§ 547 and 550, and for disallowance of a claim under Bankruptcy
23   Code § 502(d).
24                                                  VENUE
25           6.       Venue of this adversary proceeding is proper under 28 U.S.C. § 1409 in that this
26   proceeding arises in or relates to the Case which is now pending in the Court.
27   /././
28   /././


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 1                                     FIRST CLAIM FOR RELIEF
 2                       (Avoidance of Preferential Transfers - 11 U.S.C. § 547)
 3          7.      Plaintiff realleges and incorporates by this reference paragraphs 1 through 6 of this
 4   complaint as though fully set forth herein.
 5          8.      Plaintiff is informed, believes and thereon alleges, based upon Plaintiff’s review and
 6   investigation of financial and banking records of the Debtor and financial institutions with which
 7   Debtor conducted business at times relevant to the transfers referred to herein, that within the ninety
 8   (90) days prior to the Petition Date, Defendants received from Debtor on account of Debtor’s
 9   antecedent debt to Defendants, directly and/or by payments for Defendants’ benefit, the following
10   sums totaling $119,849.50 (together, the “Preference Period Transfers”):
11                  Check No.       Payment Date             Payment Amount
12                  #58312          07/14/2017               $ 10,860.00
13                  #58366          07/21/2017               $ 22,120.00
14                  #58426          08/04/2017               $ 12,153.75
15                  #58479          08/18/2017               $   2,885.00
16                  #58519          08/23/2017               $   1,895.00
17                  #58561          09/01/2017               $   5,668.75
18                  #9578           09/12/2017               $ 64,267.00
19          9.      Plaintiff is informed, believes and thereon alleges, and pursuant to applicable law
20   Defendants are each presumed to have been for purposes of this claim, insolvent at the times when
21   each of the Preference Period Transfers was made to or for the benefit of Defendants.
22          10.     The effect of each of the Preference Period Transfers was to enable Defendants to
23   receive more than Defendants would receive under chapter 7 of the Bankruptcy Code if the
24   Preference Period Transfers had not been made and Defendant received payment on account of such
25   debt to the extent permitted under the Bankruptcy Code.
26          11.     Plaintiff has demanded that Defendants account for and repay the Preference Period
27   Transfers, but Defendants have failed and refused, and continues to fail and refuse to repay to the
28   Estate any or all of the Preference Period Transfers.


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 1           12.     The Preference Period Transfers, and each of them, were avoidable preferential
 2   transfers pursuant to 11 U.S.C. § 547.
 3
 4                                    SECOND CLAIM FOR RELIEF
 5                 (Recovery of Avoided Transfers or Value Thereof - 11 U.S.C. § 550)
 6           13.     Plaintiff realleges and incorporates by this reference paragraphs 1 through 12 of this
 7   complaint as though fully set forth herein.
 8           14.     Plaintiff is informed, believes and thereon alleges that, upon avoidance of each of the
 9   Preference Period Transfers, Plaintiff is and will be entitled, pursuant to 11 U.S.C. § 550, to recover
10   for the benefit of the Estate the money or property transferred or, if the Court so orders, the value
11   of such money or property, from: (a) the initial transferee of each such transfer (or such person, trust
12   or entity for whose benefit each such transfer was made); or (b) any immediate or mediate transferee
13   of such initial transferee.
14                                     THIRD CLAIM FOR RELIEF
15                       [Disallowance of Claims Pursuant to 11 U.S.C. § 502(d)]
16           15.     Plaintiff realleges and incorporates by this reference paragraphs 1 through 14 of this
17   complaint as though fully set forth herein.
18           16.     Defendants are each a transferee of avoidable preferential transfers under 11
19   U.S.C. § 547.
20           17.     Defendants have failed and refused to turn over money and/or property for which
21   Defendants are liable to the Estate under applicable law, including 11 U.S.C. §§ 547 and 550.
22           18.     Pursuant to 11 U.S.C. § 502(d), Plaintiff is entitled to a judgment as prayed herein
23   and disallowing any and all Claims by or through Defendants against the Estate, including and as
24   well as that proof of claim filed on 10/30/2017 and referred to on the Claims Registry herein as
25   Claim 14-1, and any other Claims which may be filed herein by or on behalf of Defendants.
26                                     RESERVATION OF RIGHTS
27           19.     Plaintiff reserves his right to supplement and/or amend any of the allegations
28   contained in this complaint, including without limitation the right to (i) allege further information


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 1   regarding any or all of the Preference Period Transfers; (ii) make modifications and/or revisions to
 2   Defendants’ name(s); (iii) allege claims against additional defendants, including without limitation
 3   initial, mediate or other transferees and/or conduits by or through which any of such transfers were
 4   made, including without limitation Defendants’ agents, affiliates, subsidiaries, parent companies,
 5   or attorneys; and/or (iv) allege additional causes of action arising under 11 U.S.C. §§ 542, 544, 545,
 6   547, 548, 549 and 550; (collectively, the “Amendments”), that may become known during the course
 7   of this adversary proceeding through investigation, formal discovery or otherwise, and for the
 8   Amendments to relate back to the date of filing of this original complaint.
 9          20.     To any extent that Defendants, or any of Defendants’ subsidiaries, parent companies,
10   transferees, successors, predecessors, agents or affiliates, has filed proof(s) of claim or have claims
11   listed on Debtor’s schedules as undisputed, liquidated and not contingent, or have otherwise
12   requested payment from the Debtor or this Estate (collectively, the “Claims”), this complaint is not
13   intended to be, nor shall it be construed as, a waiver of Plaintiff’s right to object to any of such
14   Claims for any reason including, but not limited to, 11 U.S.C. § 502, and all such rights are
15   expressly reserved. Notwithstanding this reservation of rights, certain relief pursuant to 11 U.S.C.
16   § 502(d) is sought by this complaint.
17                                        PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff requests that the Court enter relief and judgment in his favor, for
19   the benefit of the Estate, and against Defendants as follows:
20   On the First Claim for Relief:
21          1.      For a determination that each of the Preference Period Transfers was a preferential
22   transfer within the meaning of 11 U.S.C. § 547; and
23          2.      For a judgment against Defendants avoiding each of the Preference Period Transfers
24   for the benefit of the Estate in the aggregate amount of not less than $119,849.50, plus any
25   additional amounts for which Defendants, or either of them, are liable or indebted to Plaintiff
26   according to proof.
27   On the Second Claim for Relief:
28          1.      For a determination and judgment that, upon avoidance of each of the Preference


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 1   Period Transfers, Plaintiff is entitled, pursuant to 11 U.S.C. § 550, to recover for the benefit of the
 2   Estate the money or property transferred or, if the Court so orders, the value of such money or
 3   property, from: (a) the initial transferee of each such transfer (or such person, trust or entity for
 4   whose benefit each such transfer was made); or any immediate or mediate transferee of such initial
 5   transferee.
 6   On the Third Claim for Relief:
 7           1.      For a determination and judgment disallowing all of Defendants’ Claims against the
 8   Debtor’s Estate pursuant to 11 U.S.C. §§ 502(b)(1) and 502(d).
 9   On All Claims for Relief:
10           1.      For pre-judgment and post-judgment interest on each of the amounts determined to
11   be avoidable as fraudulent and/or preferential transfers herein, for attorney’s fees, costs of suit, post-
12   judgment collection costs, and all other legal and/or equitable relief allowed by law.
13   Dated: October 1, 2019                      SLATER & TRUXAW, LLP
14
15                                                   By:   /s/ Timothy J. Truxaw
                                                            Timothy J. Truxaw
16                                                   Attorneys for Richard M Kipperman,
17                                                   Chapter 7 Trustee, Plaintiff

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